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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  IN THE MATTER OF                                ORDER REASSIGNING
  REASSIGNMENT OF CIVIL CASES                     MAGISTRATE JUDGE RICHARD
                                                  L. PUGLISI’S REFERRED CIVIL
                                                  CASES

  ORDER REASSIGNING MAGISTRATE JUDGE RICHARD L. PUGLISI’S
                   REFFERED CIVIL CASES

              Effective May 13, 2019, IT IS HEREBY ORDERED that all civil

  cases assigned to Magistrate Judge Richard L. Puglisi as the referral Magistrate

  Judge are reassigned to Magistrate Judge Wes R. Porter.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, May 8, 2019.




                                             /s/ J. Michael Seabright
                                            J. Michael Seabright
                                            Chief United States District Judge
